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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 WASHINGTON COUNTY HEALTH CARE
 AUTHORITY, INC. d/b/a WASHINGTON
 COUNTY HOSPITAL & NURSING HOME,
 CÉSAR      CASTILLO,     INC.,    WARREN
                                                          Hon. John J. Tharp, Jr.
 GENERAL HOSPITAL, and ERIE COUNTY
                                                          Judge Presiding
 MEDICAL CENTER CORPORATION, on
 behalf of themselves and all others similarly
 situated,
                                                          No. 1:16-cv-10324
 Plaintiffs,
 v.
 BAXTER INTERNATIONAL INC.; BAXTER
 HEALTHCARE CORPORATION; HOSPIRA,
 INC. and HOSPIRA WORLDWIDE, INC.,

 Defendants.

                AGREED MOTION TO EXTEND TIME FOR SUBMISSIONS
               REGARDING AN ESI PROTOCOL AND PROTECTIVE ORDER

        Defendants Baxter International, Baxter Healthcare Corporation, Hospira, Inc., and

Hospira Worldwide, Inc. (“Defendants”), and Plaintiffs, by and through their attorneys,

respectfully and jointly move the Court for an extension of time from May 15, 2017 to June 2,

2017 to make submissions concerning a protective order and an ESI protocol, stating as follows in

support:

        1.      On March 14, 2017, the Court entered a Minute Order directing the parties to

“submit their motions with respect to protective orders and ESI protocol on or before” May 15,

2017. Dkt. No. 81.

        2.      The parties have met and conferred on numerous occasions regarding a protective

order and ESI protocol, and continue to confer productively and in good faith. The parties hope

to be able to resolve certain areas of disagreement through continued negotiation in lieu of bringing
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them to the Court’s attention. The parties therefore respectfully request that the Court grant an

extension of 18 days, from May 15, 2017 to June 2, 2017, for the parties to make submissions with

respect to a protective order and ESI protocol.

       3.      This is the parties’ first request for an extension of time as to these submissions.

                                                  Respectfully submitted,

 Dated: May 12, 2017                              By: /s/ Brook R. Long

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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on May 12, 2017, the foregoing AGREED

MOTION TO EXTEND TIME FOR SUBMISSIONS REGARDING AN ESI PROTOCOL AND

PROTECTIVE ORDER was filed electronically with the Clerk of Court using the CM/ECF

system. Copies of the document will be served on all counsel of record automatically by operation

of the Court’s CM/ECF filing system.



Dated: May 12, 2017                                        /s/ Brook R. Long
                                                           Brook R. Long
